                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION – DETROIT

In re:
                                                                Chapter 13
Michele R. Oyler                                                Case Number: 18-30762-dof
                                                                Honorable Daniel S. Opperman
         Debtor

_____________________________________________/

 STIPULATION FOR ENTRY OF ORDER ALLOWING DEBTOR TO ENTER INTO A TRIAL
  MORTGAGE LOAN MODIFICATION AND AUTHORIZING THE CHAPTER 13 TRUSTEE
                   TO DISBURSE TRIAL PERIOD PAYMENTS

         NOW COMES Debtor, Michele R. Oyler, by and through her attorney, John Z. Kallabat, and the
Chapter 13 Standing Trustee, Carl L. Bekofske, hereby stipulate to entry of an Order Allowing Debtor to
Enter Info a Trial Mortgage Loan Modification and Authorizing the Chapter 13 Trustee to Disburse Trial
Period Payments in the form attached as Exhibit “A”,

         IT IS HEREBY AGREED that:

    1. The parties and terms of the proposed modification include:

         Mortgage Creditor/Servicer: Fay Servicing, LLC
         Borrower Name: Michele R. Oyler
         Property Address: 2803 Laurel Ridge Lane, Howell, MI 48843
         Mortgage Account No. Ending: 4272
         Proposed Modified Trial Payments: 3
         Trial Payments in the amount of $1,170.78
         First Trial Payment Due: December 1, 2018

    2. The Chapter 13 Trustee shall disburse three (3) trial payments to Debtor’s Mortgage Creditor in
       the amount of $1,170.78 as follows:
            a. First and Second Trial Payment due December 1, 2018 and January 1, 2019: The Trustee
               shall disburse this payment from available funds upon entry of this Order as soon as
               funds become available thereafter.
            b. Third Trial Payment due February 1, 2019: The Trustee shall disburse this payment from
               available funds on February 1, 2019 or as soon as funds become available thereafter.
The Trustee’s disbursements shall be made payable to Fay Servicing, LLC and shall be mailed to the
Creditor at the following address:
                                        Fay Servicing LLC
                                        PO Box 88009
                                        Chicago, IL 60680-1009




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   3. The Chapter 13 Trustee is authorized to continue the post-trial period within the Trustee’s regular
      disbursement cycle to the Creditor in the amount of the Trial Payment consistent with the terms
      provided until further order of the Court. In the event the final modification is denied or the terms
      are altered, the creditor’s right to object to the amount of its continuing monthly payment is
      preserved.

   4. Within 28 days of the last payment under the trial modification, the Debtors must advise the
      Chapter 13 Trustee whether the modification was made permanent continued or denied and
      provide proof of the terms of the implementation or denial of a final modification.


   5. If the Loan Modification is made permanent, the Creditor is to either file amendments to the
      Creditor’s claim to reflect the proposed changes to the mortgage payment and treatment of the
      pre-petition arrearages claim or if the Creditor does not file the amendments, the Debtors shall
      amend the Plan addressing the modifications of the claim consistent with the terms of the final
      loan modification.


   6. Within 7 days of the entry of this order, Debtor’s counsel shall serve a copy of the order on the
      Mortgage Creditor. Service on the Mortgage Creditor shall be by mail to the payment address
      listed above, at the address listed for notice in the Creditor’s proof of claim and any other address
      where Creditor has specifically requested notice.

/s/ Carl L. Bekofske__________                           /s/ John Z. Kallabat_______________
Carl L. Bekofske (P10645)                                John Z. Kallabat (P49891)
Chapter 13 Standing Trustee                              Attorney for Debtor
400 N. Saginaw St., Ste 331                              Kallabat & Associates, P.C.
Flint, MI 48502                                          Farmington Hills, MI 48334
810-238-4675                                             248-647-6611

Date: January 21, 2019




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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
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In re:
                                                                  Chapter 13
Michele R. Oyler                                                  Case Number: 18-30762-dof
                                                                  Honorable Daniel S. Opperman
         Debtor

_____________________________________________/

    ORDER ALLOWING DEBTOR TO ENTER INTO A TRIAL MORTGAGE LOAN
MODIFICATION AND AUTHORIZING THE CHAPTER 13 TRUSTEE TO DISBURSE TRIAL
                         PERIOD PAYMENTS

         This matter comes before the Court upon Stipulation of the parties; the Debtor, Michel R. Oyler,
by and through her attorney, John Z. Kallabat, and the Chapter 13 Trustee having agreed to approve the
trial modification as follows and the Court being otherwise fully advised of the said premises;

         IT IS HEREBY ORDERED that the parties and terms of the proposed modification include:
         Mortgage Creditor/Servicer: Fay Servicing, LLC
         Borrower Name: Michele R. Oyler
         Property Address: 2803 Laurel Ridge Lane, Howell, MI 48843
         Mortgage Account No. Ending: 4272
         Proposed Modified Trial Payments: 3
         Trial Payments in the amount of $1,170.78
         First Trial Payment Due: December 1, 2018

      IT IS FURTHERED ORDERED that the Chapter 13 Trustee shall disburse three (3) trial
payments to Debtor’s Mortgage Creditor in the amount of $1,170.78 as follows:
             a. First and Second Trial Payment due December 1, 2018 and January 1, 2019: The Trustee
                shall disburse this payment from available funds upon entry of this Order as soon as
                funds become available thereafter.
             b. Third Trial Payment due February 1, 2019: The Trustee shall disburse this payment from
                available funds on February 1, 2019 or as soon as funds become available thereafter.
The Trustee’s disbursements shall be made payable to Fay Servicing, LLC and shall be mailed to the
Creditor at the following address:
                                         Fay Servicing LLC
                                         PO Box 88009
                                         Chicago, IL 60680-1009

    IT IS FURTHER ORDERED that the Chapter 13 Trustee is authorized to continue the post-trial
period within the Trustee’s regular disbursement cycle to the Creditor in the amount of the Trial Payment
consistent with the terms provided until further order of the Court. In the event the final modification is




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denied or the terms are altered, the creditor’s right to object to the amount of its continuing monthly
payment is preserved.

    IT IS FURTHER ORDERED that within 28 days of the last payment under the trial modification,
the Debtors must advise the Chapter 13 Trustee whether the modification was made permanent continued
or denied and provide proof of the terms of the implementation or denial of a final modification.


    IT IS FUTHER ORDERED that if the Loan Modification is made permanent, the Creditor is to
either file amendments to the Creditor’s claim to reflect the proposed changes to the mortgage payment
and treatment of the pre-petition arrearages claim or if the Creditor does not file the amendments, the
Debtors shall amend the Plan addressing the modifications of the claim consistent with the terms of the
final loan modification.


    IT IS FURTHER ORDERED that within 7 days of the entry of this order, Debtor’s counsel shall
serve a copy of the order on the Mortgage Creditor. Service on the Mortgage Creditor shall be by mail to
the payment address listed above, at the address listed for notice in the Creditor’s proof of claim and any
other address where Creditor has specifically requested notice.




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